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TTY Forum

Seeking Solutions to TTY/TDD Through
Wireless Digital Systems
TTY/TDD FORUM - 6

Final Report
(September 21, 1998)

July 21-22, 1998
Washington, DC

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»« We need to move our focus from testing to resolving the issues of equipment
and interfaces.

e Use Gallaudet staff to review test scripts to determine a fair shift error
number.

e Recommend that the error rate be addressed in the test suite. The users are
actually saying that by having shift errors be counted as a string of errors
rather than cutting them off would make the results look worse.

e Add wireline matrix to script to determine wireline shift error rate as a
benchrnark.

« Issue Statement:

The issue of the false propagation of errors, created by the incorrect receipt of a

shift character should be addressed through use of an appropriate test script.

The script should contain multiple shifts space apart so that a realistic

distribution of character errors would result, based on frequent (although not

universal) practice of correcting shift errors by user action. A normal distribution
between 1 and ? with a median of about 8 would be appropriate.

15. CONSUMER POINT OF VIEW DOCUMENT: CRITERIA FOR
ACCEPTANCE OF “ONE PHONE MODEL PER SERVICE PROVIDER AS OF
OCTOBER 1, 1998” PROPOSAL

Document describes consumer criteria for phones and the circumstances of their

availability to allow consumer support of the one digital model per service

provide per service to meet the FCC requirement for compliance by October 1,

1998. These are a set of user conditions and include HCO/VCO, if it cannot be

done, the FCC would like clarification of the reasons.

Discussion:

e Asclarification of the intent of this document, this is a statement of the
desired features and actions.

* Propose a preamble to the document that states that this is not a set of
requirements

e Karen Straus — Clarification of the document is that it is the criteria for
acceptance of the one phone per service provider compromise. We would
need to know why we can't have these features or items.

¢ State that this is a contribution by consumers as an opening point of
discussion.

° Public safety had a wish list which had to be prioritized to allow the industry to
achieve the items in sequence.

e To put this document forward as a list of requirements at this late date is

unfair..

© If itis offered as a point of discussion then this is the spirit that it can be dealt
with.

* Karen Straus — We see this as grounds for acceptance. We are looking for
feedback.

Andrea Williams — This is a problem if this goes into the public record as the
criteria for consumers since some carriers have stated off-line that there are

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Meeting adjourned.

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—-1'f- WORKING GROUP REPORTS ~~ —
WK GROUP #3: TTY VIA VOCODER AND COUPLING |
—___—_ Nikolai Leung; Quaicomm, presented white paper, Contribution #6, to propose

using data bits not voice to allow use of error correction This. error correction is

transparent to the TTY user. One of the mandatés is to be able to calla PSAP —-
I cc a pool

between wireless system and the PSTN. Illustration on page 2 of the

Se mrt bution sire we ag Tamar te eee Te conver ey Pox ureue ey

HSH

—-——FPYeand any other V-4+8 modem.Manufacturers are building to this standard,
These provide reliable signals for TTY.

- Discussion:
—____---____VWillthe standard cover the userreceiving-a-TT¥ call. AnswerYes, the standard —_______

covers calling both directions.

aaa ~Boes the standard cover having a blinking light to-show a-call?- No- SES ke

The facilities are there in the standards for a pin-out to be activated as a lead

IS-707 has specific commands that are declared as optional to seléct specific
tec eerie —-PY¥s.— So SS pe El
V.18 hardware exists and it is a matter of installing the software as demand

builds.

_._ -Basic-data-services means_a_phone witha digital interface...Inthe future there... __

may be phones.¥ with digital and analog interface.

the functionality in the handset will be usable. You would need BAUDOT inthe 0
network to support a conventional TTY device and conventional PSAP

——_---Majerissueis how the ---¥ would interface —there-aren’tmany-that-are_available ——____——___-

nue today that have the 232 interface

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_ Voice channel will keep the same underlying error rate but the data channels will

a consumers-int he analog system willforce-them-to-use-a
system that has higher error rate in the future.

Qualcomm _has-some data_phones_that will be coming out inthe next-month.

This-can-be considered a hybrid-solution = data over the air interface and then--—— ——-—— —
converting it back to analog. The long-term solution direction of the Farum is

digital over the air interface. This is the long term solution — to support existing

+1¥s there must be-analog-—-digital—-analog-conversion.- — == oe

Most modems are going to wait for the other end to answer before sending

information. This car-be a problem because the user has to be able to press the

= -space-bar_before the modem_answers.____- - <9

Pee ee ry-to-push-the-space hart
t (oO Pus iné Space part

call. If the modem has fo connect to the PSAP first, then the caller cannot signal

h
thatits a TTY call by using a space bar. Answer.

his can be done — there is na

4h, 1

Te rt tt
PU suppoirl tie Quatcomm solution; the modem is already connected before tie {

call reaches the PSAP and therefore, the timing_of modems synching_up is not.an

_ issue. The calls that are V.18 send a signal to identify, the Qualcomm solution”

wittsend-tones without going through--48-and there-will be ne-issue-with
signaling the PSAP.

Philips Contri ibutions #8, ons 9
Both contributions were presented at TR45.5. Contribution #8 discusses a new

Py
service option using the EVRE vocoder to support simultaneous voice and

dedicated user data This contribution does not. represent a a near term solution

but a middle- long term solution in the network

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Contribution #9 proposés a methodology that can provide nearly error free
—/ transmission of FFY-FSK Baudet text over CDMA.—This technology can-be—
implemented without any standards efforts. This would make this a short-term.

solution for CDMA: By providing an interface between the cellular handsetand a

TTY a the. errors introduced_by the vocoder itself will he eliminated The

solution will require changes in the handset and the network. A diagram of the

—--proposed-solution-on- page -6-of contribution #9-describes the model. Using this

model would lead to a probability of bringing error rate down to 1.25-2.5%. If

most of the bad frames are isolated the character error would be much smalier

oo ..and-would-fall-within the-0.5-4% rate-determined.to-be-acceptable to the—. _

consumer groups.

Discussion... a

How soon could this solution bé ready? Answer: I cant give you an answer but

—____—_—_1—Lyeentand Bell Atlantic are-working- onthis tight new seeking a solution 4t-———__--_-

could possibly be an all software solution. _

Foo evaluate-this proposal willtake field testing because one of the assumptions —

__ is that frame errors are isolated but if frame erasures come in bunches that will

____impact-the abitityto-correct En ee

Is ‘this theory’: ? Yes, ihe software needs to be developed. »

This proposal has been remanded to one of the TR45.5 workgroups. Itis

tht

“designed totettow speed data through a voice call Packet data would fiow

simi iItaneously fo voice

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THROUGH PUT TESTING

( Josh Lober, Lober & Walsh, presented Contributions #10, 11,12.

cg eee

Were being slowed too much and did’ t represent actual FP i fv transmission r A

new script was generated to address the concern that the original script had

unrealistically high numbers of character errors. New script has maximum of 8~
character errors per-missed shiftFhe- NXI-Communications-300V1 medent and——____

UltraTec Intele-Modem were tested. Dynamic range is not as big an issue as

— "previously thought

Results are less than 1% character error rate with level matching, dynamic

— range matching; and consideration of the different algorithms-in-different -——

products

ono Uber Of phone manufacturers-have-differentalgorithms that affect the way

the tones are passed and they are passed differently through different phones.

a -Standardization_is.importantin the TTY devices to ensure that tones are passed

effectively. There tis no accepted TTY standard for TTY manufacturers.

fF you carefully connect a TTY device to-a cellular phone; you get pretty good ———-—

transmission. Therefore, there needs to be a list of phones that work and TTY

devices that work and which work with each other.

Discussion:

Ifyou BRR eee er ee riareneeen tater ere aoe or

rates, the only way to do it is to make a change in all TTYs._If you make the

TTYs slower (fo test at % rate to improve the error rate), what is the full rate test

result? Fhe error rate-0f 2.84% would -be-the best you could get atfull rate__-__________

TTY. Jadraft doc Li 5

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This would require a retrofit of all wireline TTYs and PSAPs to.achieve half rate —

eee“ T TY has got to move forward = tris locked in 1960s when the networks were

~~~ == ~ —Slowing the TTY transmissions dowrto half rate is-unacceptable because itis ~

slowing down the transmission of the 9-1-1 message.

— The slowing-down-of TY doesn't require half rate-but rather 68 wpm-down-to — —--—_____

62wpm.

oe Perhaps we.don’t have_a short-term solution. There may be changes that have 00.

to be made to the network, phones, PSAPs.
Leber Walsh wiltntroduee-a reduction in-speedito their wireless ¥s._ he

interface box presented at the last meeting is designed as an inexpensive fix to

solve for the return signal:

Contribution #17: This test uses three TTY devices and the Motorola i600

EN phone—irraltcases the iDEN-phone-was-connected directly to-a EP-F-————_-
Mobility TTY inthe field. The phones were stationary — no drive tests were

preformed due fo short time available for testing. IDEN phone had a smaller

range of tolerance for audio JevelThere is-a line level issue-with-the UltraTeo
and NXI in the iDEN environment. Both TTYs performed better in an IS-136

environment.

The iDEN performance was far better than expected through the vocoder. Level

match ching ¢ and dyna mic

Discussion:

TY. Jadraft.doc—___ _ a _ 12

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ie T?7Y manufacturers have a comment? Answer The
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be very careful what we change.

~~ We neéd to be very careful about making changes to go to half rate because this -—

o
QO
mis

become the rate forthe long-term solution and we also haveto pa

HH t FAHt Pe

ymore to

use the phone for the increased air time.

Answer. The long term solution is to move into.the PDA (personal digital

applicator) rather than going 16 slower rate Baudot. The long term solution is

SS --peing-addressed-and-TTY Forum will-net close-its-doors-untilthe long -term-.— —

solution is in place. The short term solution is seeing testing at an accelerated

rate now. The solutton fronranr engineering standpointis being worked or and

= the _manufacturers.and carriers hear the consumer concerns - eae

These plo ta he a £ itenbs by ry TTY t
Fhere needs-to be an auto switch between the-speeds tomake the FY device
Co Sable,

42. STANDARDIZED TESTING AND-FINAL EVALUATION—
nn OSH LOber, Lober-& Walsh presented Contribution-#12. The majority of field... Se

tests can be done in a lab simulating field results. The purpose of the document

isto devetop a test that withwork for the various air interfaces-tHs intended+te

oo. produce.an_even playing field. {f.performance. cannot be achieved inthe lab, it.

should not go to the field. The accepted standard is that one phone per air
interface technelogy-will perform-as well as-F-Yeveran

9

Discussion:

Comment—_There have been_no tests done on CDMA and there is no technical

reason why the intercharacter delay would improve CDMA performance. —

Th £. t. ‘. = cle} alas bys bh afi apeal frp
Therefore; having a time delay wilt not be beneficial tor CDM

Answer: It would be interesting to see the results of full rate and slowed rate for

all air interfaces.

TILY-Jadraft doc . 13

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Exhibit F
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Request from Gallaudet to have carriers supply phones and service to use for ~

v testing The FC€ supports the request and put it in their order—Norman Wiliams

is willing todo testing but Gallaudet needs the carrier’s support.

Question: Ifthe lab tests prove to be unacceptable wnat do the ‘consumers want

TDI. on behalf of consumers, stated that they are not comfortable with having

“only lab testing done by manufacturer: --Consumers wouldtike to be included in

the-testing to-assist in understanding the consumer needs better. Consumers do

not want testers to assume what the consumer needs are.

Comment:-Normarstates that itis important to have-a TTY expert to-help set up-——

the TTY equipment

Response: Theré is no attempt being made to exclude consumers butjustto

agree that the lab-environment-be-established-for-testing. -

Chair recommends remanding this discussion to tomorrow afternoon when Dale

Hatfieid; FCC; is present to assist in the discussion.

Comment: Sprint PCS has made an agreement with AxCell to provide one cable

to provide the conversion of ASCII to Baudet andthe interfaces

____ phone model... This solution will be commercially deployed for CDMA in the next

six months.

Discussion Day 2 / a

~_FCC expressed frustration at the ‘givin progress at the -FFY Forum.Dale

Hatfield was_optimisticlast week with the expression. of support from carriers and

_ manufacturers that progress would be made on a technical level. He expressed
-extreme frustration upon-seeing-the test plan-that shows testing being complete———— a

in middle of 1999. oe

The concern from the forum is the accuracy of the testing: ~The testing: shows a
— _____Jasger than 1% error rate-and-that has been deemed -unacceptable by the- —

consumers. If the tests that have been done are acceptable then the data is

clear that there is no short-term solution t for-severataininterfaces.

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‘We need the FCC to understand the specifics that the forum is engaging in to

obtain accurate results and future solutions:

The TTY Forum-did_not approve the draft workplan. The manufacturers and

carriers absolutely disagreed with the dates. oe ee

—_________the choice the FFY-Forum-is faced with is-committing to more-individual labs-and———

have lower consistency but faster turnaround, or have independent labs do

testing and receive greater consistency but slower turnaround’as a result:

—______________Brian Fontes,-CHA,-askedwhy-the consistency is more important than getting to

the testing right away.

__ have been incomparable. It is the desire of the GSM technical group to have one

week to get dates for testing and get the dates back to the rorum.

~ Fodd-Lantor-will-be the point of contact for the technology-groups.— a a

The testing is more difficult than the engineers anticipated. It is very difficult to

gét consistent results from each manufacturer.

we nm The FCC believes that the consumers would like to_be involved in the testing and

A Having the test cael aie: would-make the invawenssteasion-—

nev ei ifwe-are trying to do the tests faster, it would require doing the testing in more

than one lab per technology. That does not support involving the consumer

Sale aE _ ——

The FCC asks the consumer groups to share whether they do desire to

participate. a epee,

Pam Holmes, Ultratec_asks that the consumers_receive equipment and airtime

so they can experience the digital issues.

_CSsthrerefore, the testing is being judged by engineers not consumers.

Inappropriate set-up can impact the testing. That is another reason to include

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Paul Mollar, Motorola, agrees fully that consumers should be involved. The

testing willbe done with and without shift errors, is there more that has not been

agreed_to in the testing?

fet Hf anita £] o TTY4
titat it accurate yy reflects TTY Use,

The consumers have never been excluded from lab testing. The manufacturers

have not been trying to hide the data- a _

—Quatified-F-FY users-should_also-be experience digital wireless users.

There should be a solution that the test is reviewed by consumers and the tests

~—are dry run before the tests are performed just to make sure they comply with-the-—

needs of consumers

Ericsson tests averaged three weeks and fook one week before to write the test

procedure and then-a-week aiter-te-analyze-and-write-up the results.

Doug Neeley and Norman Williams have been working on this for four years. All

thé TTYS wére tweaked to work on wireline. The older digitatruns too stowly to

run-45.45-Baudot.We-still have not-done digital to digital tests _.

Summary of the Issue on TTY is about at an end. There is only a 45 day window

thatthe Bureau over the issue: The Commission will be -very-coneerned-ifitsees

a __a.mid-99 date for testing.

Clarify expectations of what information is required within the week. The tests

will net-have-to-include-all-existing mobile-phones available per air interface.

a FCC wants to hear as quickly as possible. They will not prioritize among FCC

issues. T he consistency of the testing fronreach techno} ogy willbe cong vente = —_—— —

tothe FCC.

__ Clarification requested: !s the consistency of the testing required across

technologies or within each technology.

Since CDMA believes that it cannot meet a CER requirement does the FCC

understand that?

Fhe-FGC-wants- to-see accurate-and. comparable data from-each technology

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2... The urgency expressed by the FCC in the stringent dates should speak for itself.

The goal is to accomplish this as fast as possible. The issue extends beyond the ———
just the 9-1-1 issue-to include compliance with Section 255

The bureau will make a decision to grant an extension based on the workplan. IF
that workplan shows an extended period for testing, the FGG will not take-it
kindly. The acceleration of the testing will be better received. _

~ : The delay of research should only be tolerated if the testing will be achieved ina

short period of time: =

Ericsson and Motorola committed that research will be continuing whether or not

“testing is going on: a - wee TE

11. REVIEW DRAFT — 2.5 MM JACK TECHNICAL DOCUMENT
Lee Whritenour, BAM Se
tnformation needed to determine is whatis the leveHrom the phone, whatis
acceptable as an impedance match, etc.

‘There are no TTYS as yet that have diréct 2.5mm or 3.5mm connections: Where to
——_—______----tg-eennect HCO/AVGO -into-this and who-will make the common-interface-are still

issues. Proposal to make all the corrections on one side in a common interface.

The Headset adapter would be up to-manufacturer: -Phone manufacturer would- et

have to make switch and components. Problem is possible 2 wire to 4-wire

conversion, which would require a third party vendor to make the connection

This solution will not be-backward-compatible:-On-the-wireless-side-it-is-not—..- —--—-----------}

required that the solution be compatible with 10 years of embedded base. The

10 year embedded base refers to the wireline side.

-Ultratec stated that they. are-willing-to-build-Tly devices.to meet.the

requirements of this solution.

Ericsson committed to providing equipmentto satisfy this solution,

There is a product called.Compact that is small, aminimal expense andis@a

perfect solution from the consumer standpoint.

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will be invalid if the equipment is not within specs. We know what the phone

specs are because they are published in standards: We don't know what the

specs-of TTYs are

Al Sonnestral — | recommend that we use a standard like the Greenwich Mean

Jeff Crollick — Which madel?

‘Lee — We neéd to have the statistics froni Ror in order to get to a spec for TTY

characteristics.

Co-chair recommends that TTY Forum wait for Rorrto get his operating—————--—
characteristics list by next week__And then-there will be two separate documents:

¢ Operating Characteristics of Landbased TTY Devices

ene * Operating Characteristics of TTY devices used in wireless testing’ - == eS

- 42. VOICE-BASED SOLUIONS——---_- an aaa

«Finalize 2-5 mm Jdack FechnicaHnformation Document

The Technical Information Document will be submitted to TR45.2 nextweek and
TiP1 at their next meeting. This is the basis of an SRD. ~ ~ ~ :
—_____+_—_+—\Ge-Ghairrecemmends-that the document be turnedinte-an-SRD-and submitted ——_—__
to the chair of TR45 on December 4,5 and T1P1 at their next meeting with the

request that the two groups work together. The data solution SRD will also be — ~~

submitted_at that time._With the support of CTIA and the notation that this is in

response to a Federal mandate, these documents will be dealt with expeditiously.

Lee Writenour presented that the 2.5 mm jack is found widely in the marketplace

and that the levéls can be adjusted easily to meet the level requirements. Need

to discuss what the needs-of manufacturers._Is there-anything-inthe document ————.. -

that we don’t want to say or that is in error? Flash/Vibrate requirement covered

in the document. Doug Neeley; Nokia, will join the work group to finalize the

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technicalities of the document. The TTY Forum agrees to submit the 2.5 mm _

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Jack SRD to standards bodiés:

a Steve Coston, Eriesson, presented the preliminary results of FLY testing: re

__ the vocoder (contribution #14). A good transmission device and good receiving

device reduces the transmission errors._Lober & Walsh results-showing that

~~ feveling and matching output dogs significantly improve the error rate. The root

causes of incompatibilities are well defined in the reported test résults. Ericsson

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(4000+ random characters). When the signal strength was changed in digital air

“interface transmission the error rate did not change. The results for analog ~~

performance-show less_than 1% for TTY transmission over an Ericsson_phone (at

high signal strength). The test result table shows results in the generally under

~2% error rate when the transmission rate is % andthe signal strength-was high--

Ericsson finds that the downlink is better than the uplink and the ACELP vocoder

provides better résults than the VSELP vocoder. (Thé ACELP is quicker and

gives -a-higher-sampling rate.) The modified test script had-fewer characters than— —

a TTY run at full rate (thus the TTY was not modified to give % rate, the test

script was). Norm Witlams, Gallaudet, suggested that UltraTec could work with

the-stop.rate to-accommodate % rate transmission inthe field__Al Thomas, Bell...

South, asked if Ericsson sees any discrepancy between ihe Nokia and Ericsson

test rosults?-Steve Coston stated that there is no-diserepancy but Eriesson-and

_ added the signal. strength issue to the testing. Also, these tests identify

differénceés between the vocoders. In a lab environment you do not have to déal

with-fading-and-ott her idiasyncrasies in-the fieldThe-34rate is the transmission __—______
e

date of the data. The vocoders are able to provide error correction when the ~

tones are slowed down: The UitraTectuns at full rate but om the tober & Watsh ~~

there is a switch that allows a reduction in the rate A! Thomas asked that we

clearly understand the implications of reducing the rate and asked Ultratec fit

-was possible toreduce the rate on ther equipmentiFerror rate isimproved
significantly. UltraTec, Ron Schultz, believes that the difference appears to be ;

just slow typing so doesn’t Sée thé impact of changing the equipment. Dick

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~ Brandt reminds that the reduction of rate from the wireless phone may be

acceptable but that the consumers do not want a reduction of TTY rates on the

wireline side because that would mean-a reduction in speed for all TTYs to

~ benefit only the wireless side users. Norm Williams recommends setting upa

th rey

m.The-powerte' vel for all echnologies-except CBMA—__—

gateway to solve the proble

is set at 0. There is a distinct advantage to matching the TTY device to the

“phone.

Nikolai Leung, CDG, shared that slowing down the transmission rate may be

--~haneficialto TDMA and GSM but this is not the case for CDMA- ‘Speeding up the -————

rate for CDMA has been shown to be beneficial

13,DATA-SOLUTION

»__V.18 WE demo (10am November 4")

Nokia presented a demo of the V.18 IWF device built into the Nokia harid-held

Att

lution forthe V-4+6-was-available-in- Sweden-and Nekia

commu«unicater: So

provides a satisfactory answer to the Sraquiiéments of Section 255. V.18 is part

of the European requirement: In the experience of the Swedish company; the ~~~ ~~

TTY manufacturers are compatible about 95% of the time. The new device

makes it possible to call fo other countries as well as other manutacturers

equipment: -Fhe-use-of the textphone-is-far wider thanjust-supporting the-.. —§ —...—___.._ - wk

requirements of the deaf and hard-of-hearing community. Phone cails during

meetings could e converted to text to avoid disturbances The goatis to have the

-textphone-_become ubiquitous.so that there would _be.no way to tel | the difference... ==

between a deaf caller and a hearing caller. The textphone comes complete in a

A dhe al.

single box with instructions, a-vibrating- pen, and the device:

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Nokia put a 386 computer into the Nokia phone. Telephone features SMS

(paging), conference calling, etc.

Scanned_data_and photos can he transmitted via the phone’s modem

—_______—ai+ in-one unit and-small enough te-be pertable—it needs a little-bit-of work—(See——__—--—

list of concerns and responses below).

Ai Sonnestral — in général it’s looking very nice but one thing concerns me — we
have _multiple-air-interfaces inthe US while Europe-has only one. Also, whatif————________—

the V.18 is not available everywhere? The federal government is encouraging

‘deaf-students to-go into mainstreanr programming, that means that every phone ~ -

screen goes off during the phone call and I have to push two buftons to make the

————— ~———-light-go-back-on-----— Boone reese pe gg
Co-chair addressed issues. The functional issues can be addressed quickly

when ine pnone goes outto consumers

—_ Concerms: --—- Fm pe ple Bf a ee A

* bigger font — there is support for various font styles and sizes within the

device.

- —_« —data-answering-machine-— ne
« GSM coverage — GSM supports the data network.

* roaming within the GSM network - roaming is not a problem. The demo

— showed -roaming from-DC-to Sweden-and_back——__--

e support for all types of networks — currently GSM is the only network that

—————<sapports data. CDMA & TBMA willbe coming out with supporttor-data soorr.

Receiving the data.call.is.afunction_of the network here in DC area. We

could roam and get data calls. For fhe demo we chose to stay on the local

yy de ees vl
l

oy be.
TOUWOTR

backlighting. - You can change the amount of time that the backlighting stays

lit. The concern ts the amount of power that lighting draws.
it ity — Nokia kei dined . i
receiving data calls -GSM supports data and COMA/TDMA will shortly

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L.

Altltechnologies are unique and this device has to crawl before it walks. Nokia

will not be the_only provider in the marketplace
e Finalize SRD

The Circuit Switched Data SRD is presented to the TT¥ Forum for approval tt

has been circulated for several months and_no further comments have been

received. The TTY Forum approved this action and the SRD will be submitted to

the-proper standards bedies.

« Third-party gateway solution

Fhis solution would relate to a voice solution only. ATelay service would be the ~~~ -
intermediary between_the +7 transmission-sent over wireless using areduced ———___1—

rate and then send the transmission on to the PSAP via a full rate TTY

= transmission, There is no current capability for this sotution- Norman Williams, —~ mp

ae

solution would actually be a PDA or PC with a TTY software application running

~—-——-or-top: Fhe signal-would-come in-as-a-Bell-or other enhanced-protecol.- a

The data version of the IWF could bé the same as the gatéway solution.

New definition: IWF is invisible to the user, integrated with the network and

Dacross multi : i atransiatiorrto the
shared a sat latiorrto th

—_— —- appropriate-switched_second number.and includes a second TTY transmission... . oe

rate.

_The TTY Forum .has agreed that the gateway solution actually falls within the

IWF solution. Theréfore, and IWF is broadly defined as a translation method to
——__---______completea-call_that is_transparent-to-the user__—The IWF is not limited to_either

voice or data. An IWF may not be confined to a single network but may be

shared across multiple networks.

Norman Williams reiterated _that it is critical that any solution must have visual

signals to Identify ringing, busy, and calls in progress. Currently the rate of a

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blinking light is a signal to a deaf user of various audible call progress issues.

Théré is the capability ina digital lead in V-18 that will indicate call progress.

—_____-_____Fhis-differentiates-_between busy signals, recorded answering machines, TTY, or -

live voice. V.18 actually uses the same lead activator that provides the audible __

signalfor hearing users:
In the voice solution the audible indication can be provided through a lighted (or

other) indicator. The signal indicator for a data transmission must be provided for

—____—e— Submissien-of Future Fest Results
___ The TTY Forum has agreed to oversee future activities to ensure that the

_—_ ~~ agreements and testing are completed to the satisfaction of the stakeholders ——_____---—

represented by the TTY Forum

Co-chair recommends putting together a small team to review all testing and get
—_—— sss HE Ott tothe TY Forum for comments: hen_the testing would be packaged-and——__— .-
sent to the FCC, The TTY Forum will remain ina monitoring state until all air

interface solutions are available in the marketplace and accepted by the

~~ tS REVIEW 7 MODIFY? AMEND TTY FORUM AGREEMENTS

«” Agreements
Agreement discussed and accepted as_ presented —___
© TestMatrix

Not Discussed

—___._--16.-NEXT MEETING _

Next Meeting

J any 26 —27,-1999
+e be-held atthe Kellogg -Conference Center-Gallaudet University

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